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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
STATE OF NEW YORK,                                                     :
                                                                       :
                                     Plaintiff,                        :   20-CV-1127 (JMF)
                                                                       :
       -v-                                                             :
                                                                       :
CHAD F. WOLF, in his official capacity as Acting                       :
Secretary of Homeland Security, et al.,                                :
                                                                       :
                                      Defendants.                      :
                                                                       :
---------------------------------------------------------------------- X
                                                                       :
R. L’HEUREUX LEWIS-MCCOY et al., on behalf of                          :
themselves and all similarly situated individuals,                     :
                                                                       :   20-CV-1142 (JMF)
                                     Plaintiffs,                       :
                                                                       :
       -v-                                                             :
                                                                       :        ORDER
CHAD WOLF, in his official capacity as Acting                          :
Secretary of Homeland Security, et al.,                                :
                                                                       :
                                      Defendants.                      :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        On July 10, 2020, Plaintiffs in these cases moved for partial summary judgment on their

claims under the Administrative Procedure Act. See ECF No. 78.1 On July 23, 2020, after the

Department of Homeland Security (“DHS”) announced that it was rescinding the decision to

exclude New York residents from participation in Trusted Traveler Programs, effective

immediately, Defendants filed a letter “to correct several statements” in their “briefs and




1
       All docket references are to 20-CV-1127 unless otherwise indicated.
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